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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

TALIA N. HARRISON,                            :
                                              :
                   Plaintiff,                 :
                                              :
                                              :   No. 4:21-cv-00607-ALM
                   vs.                        :
                                              :
TYLER TECHNOLOGIES, INC.,                     :
                                              :
                                              :
                         Defendant.           :


            DEFENDANT’S OBJECTIONS AND ANSWERS TO PLAINTIFF’S
                   FIRST CONTINUING INTERROGATORIES

TO:    Plaintiff, by and through her attorneys of record, Charles R. Bridgers and Matthew W.
       Herrington, Delong Caldwell Bridgers Fitzpatrick & Benjamin, LLC, 3100 Centennial
       Tower, 101 Marietta Street, Atlanta, GA 30303; Melinda Arbuckle, Shellist Lazarz Slobin
       LLP, 11 Greenway Plaza, Ste. 1515, Houston, Texas 77046.

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant Tyler

Technologies, Inc. (“Defendant” or “Tyler”) serves the following Objections and Answers to

Plaintiff Talia N. Harrison’s (“Plaintiff”) First Continuing Interrogatories as follows:




Defendant’s Objections and Answers to Plaintiff’s First Interrogatories – Page 1
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                   OBJECTIONS AND ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1: Identify each specific exemption to the FLSA’s maximum hour
provisions that you contend were applicable to Plaintiff during the Relevant Time Period. Describe
in detail the factual basis for such contentions, and Identify all Documents that You contend
evidence or support that contention.

ANSWER:

        Tyler objects to this Interrogatory as overly broad in its request to identify each and
        every fact and/or document that might support Plaintiff’s exempt classification
        under the Fair Labor Standards Act (“FLSA”). Subject to but without waiving the
        foregoing objections, Tyler responds as follows. Plaintiff’s role as a senior project
        manager was classified as exempt under the administrative and executive
        exemptions. Plaintiff’s role as an implementation analyst was classified as exempt
        under the administrative exemption. Defendant refers Plaintiff to Defendant’s
        Motion for Summary Judgment filed on February 10, 2022 and Exhibits 1-3 to
        Defendant’s Motion for Summary Judgment.

INTERROGATORY NO. 2: During the Relevant Time Period and for each workweek therein:
     A.  State the beginning and ending day of each seven-day period, if any, the Company
         contends should be used as the applicable “workweek” (within the meaning of 29
         CFR § 778.105) in this action;
     B.  State the actual number of hours that You contend Plaintiff worked during each
         workweek;1 and
     C.  State the total compensation (cash and non-cash benefits), including bonuses, You
         contend that Plaintiff received for each workweek.

ANSWER:

        Tyler objects to this Interrogatory to the extent it seeks information about divisions
        or departments other than that in which Plaintiff worked during her employment.
        Tyler further objects to this Interrogatory on the grounds that it seeks irrelevant
        information not related to the parties’ claims or defenses in its request for a
        valuation of employee benefits which Plaintiff may have received during her
        employment with Tyler. Subject to but without waiving the foregoing objections,
        Tyler responds as follows:

        A. The ERP division in which Plaintiff worked did not have a formal “workweek”
           but, in general, for payroll and scheduling purposes, employees were expected
           to be at work Monday through Friday;



1
 This Interrogatory seeks information as to the actual number of hours worked, not necessarily a recitation of what
Your records indicate that Plaintiff worked, if that amount differs from the information contained in Your records.
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       B. Tyler does not “contend” that Plaintiff worked a particular number of hours
          during particular work weeks and, as such, is not able to provide an answer to
          subpart B of this Interrogatory. Tyler believes that the hours that Plaintiff
          worked during particular work weeks are reflected in the time records that
          Plaintiff entered as to her weekly hours worked and that are reflected in payroll
          and other documents produced in this case;

       C. Tyler is not able to fully answer subpart C of this Interrogatory because it does
          not necessarily place a particular “value” on particular employee benefits.
          Plaintiff’s “total compensation” can be identified through payroll records
          already produced in this case.

INTERROGATORY NO. 3: Identify each Person that You contend has knowledge of Plaintiff’s
actual hours worked during the Relevant Time Period and Identify all Documents that You contend
evidence Plaintiff’s actual hours worked in each workweek.

ANSWER:

       Tyler believes that Plaintiff has knowledge of the hours she worked during the
       relevant time period and that such hours are accurately reflected in her time records
       produced by the parties in this case. Tyler also refers Plaintiff to Tyler’s Amended
       Initial Disclosures for the identity of additional individuals who may have
       knowledge of the hours Plaintiff worked.

INTERROGATORY NO. 4: Enumerate and describe with specificity what You contend were
Plaintiff’s primary job duties during the Relevant Time Period, and for each such primary job duty,
state whether or not You contend that it is possible to determine the percentage of Plaintiff’s typical
workweek that each such primary duty occupied, and, if so, State the percentage of Plaintiff’s
typical workweek that You contend each such primary duty occupied.

ANSWER:

       Tyler refers Plaintiff to Defendant’s Motion for Summary Judgment, including Exs.
       1-3 to Defendant’s Motion for Summary Judgment, as well as to Plaintiff’s job
       descriptions and other documents related to the performance of Plaintiff’s job duties
       already produced in this litigation.

INTERROGATORY NO. 5: If You contend that You acted in “good faith” with respect to
Plaintiff’s compensation (within the meaning of 29 U.S.C. §§ 259 or 260) or did not “willful[ly]”
violate the FLSA (within the meaning of 29 U.S.C. § 255), Describe in detail all efforts you made
to investigate Your FLSA overtime obligations to implementation consultants, or other individuals
who performed substantially similar duties, prior to the end of the Relevant Time Period, and
Identify all Documents evidencing those investigations.


Defendant’s Objections and Answers to Plaintiff’s First Interrogatories – Page 3
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ANSWER:

       Tyler objects to this Interrogatory on the grounds that it is vague and ambiguous as
       to the term “investigate.” Tyler further objects to this Interrogatory as seeking
       irrelevant information as Plaintiff did not work as an implementation consultant,
       but as a senior project manager and as an implementation analyst, which have
       distinct job duties. Subject to the foregoing and without waiving the same, Tyler’s
       “good faith” and lack of “willfulness” as to Plaintiff’s exempt classification is
       supported by, 1.) the fact that Plaintiff was classified as exempt by her previous
       employer which Tyler acquired in June of 2016; 2.) the fact that other similarly-
       situated employees are classified as exempt in the industry; and 3.) the fact that
       Plaintiff’s job duties demonstrate that she qualified as an exempt administrative and
       executive employee under the FLSA.

INTERROGATORY NO. 6: If You contend that You acted in “good faith” with respect to
Plaintiff’s compensation (within the meaning of 29 U.S.C. §§ 259 or 260) or did not “willful[ly]”
violate the FLSA (within the meaning of 29 U.S.C. § 255), Identify every Person from whom you
received advice (including but not limited to legal advice), prior to the end of the Relevant Time
Period, regarding the Company’s potential FLSA overtime obligations to implementation
consultants or other individuals who performed substantially similar duties; describe the substance
of the advice; state when the advice was given; Describe in detail the circumstances under which
the advice was given; and Identify any Documents reflecting or relating to the advice.

ANSWER:

       Tyler objects to this Interrogatory as seeking irrelevant information as Plaintiff did
       not work as an implementation consultant, but as a senior project manager and as
       an implementation analyst, which have distinct job duties. Subject to the foregoing
       and without waiving the same, Tyler’s contention that it acted in “good faith” is not
       based on legal advice from outside counsel.

INTERROGATORY NO. 7: If You have taken any written (whether sworn or otherwise) or
otherwise recorded statements (whether recorded by analog or digital means) from any Person
regarding matters at issue in this litigation, please Identify each Person from whom a statement
was taken and Describe fully the substance of each statement.

ANSWER:

       Tyler deposed Plaintiff on January 20, 2022 and February 2, 2022. Tyler refers
       Plaintiff to her deposition transcripts for the substance of her statements.

INTERROGATORY NO. 8: Identify all ExecuTime implementation consultants, project
managers, and implementation analysts who worked for the Company during the Relevant Time
Period.


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ANSWER:

       Tyler objects to this Interrogatory on the grounds that it requests information not
       reasonably related to the parties’ claims or defenses in this case (for example,
       Plaintiff never worked as an implementation consultant) and that there is no good
       reason to go beyond the ordinary scope of discovery under Rule 26(b) of the Federal
       Rules of Civil Procedure.

INTERROGATORY NO. 9: If you contend that Plaintiff has misrepresented, distorted,
exaggerated, falsified or been untruthful in communicating any statement (1) to any employee or
agent of the Company during the course of her work for the Company, or (2) to anyone concerning
Plaintiff’s work for the Company, either prior to, during, or following the Relevant Time Period,
or (3) to anyone if you contend such alleged misrepresentation, distortion, exaggeration,
falsification or untruth may constitute or lead to the discovery of evidence admissible for
impeachment, please describe in full detail the alleged misrepresentation(s), distortion(s),
exaggeration(s), falsification(s) or untruth(s), including a description of the subject matter; the
date(s) of any communication(s) by Plaintiff; the Identities of all Persons who have personal
knowledge of any such alleged misrepresentation(s), distortion(s), exaggeration(s), falsification(s)
or untruth(s)by Plaintiff; and the location and custodian of any and all Documents that evidence
any such alleged misrepresentation(s), distortion(s), exaggeration(s), falsification(s) or untruth(s)
by Plaintiff.

ANSWER:

       Tyler objects to this Interrogatory on the grounds that it requests information not
       reasonably related to the parties’ claims or defenses in this case and that it is overly
       broad, and vague and ambiguous, in its request to identify each and every statement
       from Plaintiff, either during her employment or otherwise, that might not be
       accurate or would qualify as a “exaggeration” or “distortion” or that otherwise
       might be responsive to this Interrogatory. Subject to the foregoing and without
       waiving the same, Defendant may use Plaintiff’s deposition testimony at trial for
       purposes of impeachment.

INTERROGATORY NO. 10: Identify all previous litigation and arbitrations in which current or
former employees of Tyler Technologies have asserted claims arising under the Fair Labor
Standards Act or state wage and hour laws. As to each such instance of litigation or arbitration,
Identify the forum, case number, parties, and resolution, and Identify any judgments, judicial
orders, or arbitrator’s opinions issued.

ANSWER:

      Tyler objects to this Interrogatory on the grounds that it requests information not
      reasonably related to the parties’ claims or defenses in this case and that there is no
      good reason to go beyond the ordinary scope of discovery under Rule 26(b) of the
      Federal Rules of Civil Procedure. Subject to the foregoing and without waiving the
      same, any such litigation is publicly available and there are no such arbitrations.
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INTERROGATORY NO. 11: Identify all settlement agreements that the Company has entered
into involving claims under the Fair Labor Standards Act or state wage and hour laws. As to each
such settlement, Identify all parties involved and Identify all Documents memorializing such
settlement agreements.

ANSWER:

       Tyler objects to this Interrogatory on the grounds that it requests information not
       reasonably related to the parties’ claims or defenses in this case and that there is no
       good reason to go beyond the ordinary scope of discovery under Rule 26(b) of the
       Federal Rules of Civil Procedure. Tyler further objects to this Interrogatory on the
       grounds that it is overly broad in that many or all of Tyler’s releases with its
       employees included language reflecting release of claims related to employee
       compensation. Tyler further objects to this Interrogatory on the grounds that such
       releases, in most cases, were executed with the mutual understanding of Tyler and
       the employee that such documents would remain private and confidential.

INTERROGATORY NO. 12: If You contend that Plaintiff’s primary duties included the exercise
of discretion and independent judgment with respect to matters of significance within the meaning
of 29 CFR § 541.202(b), then Identify each such primary duty and Identify all Documents that
You contend memorialize specific instances in which such duties were performed.

ANSWER:

       Tyler objects to this Interrogatory as overly broad in its request to identify each and
       every fact and/or document that might support Plaintiff’s exempt classification
       under the FLSA. Subject to but without waiving the foregoing objections, Tyler
       refers Plaintiff to Defendant’s Motion for Summary Judgment filed on February
       10, 2022 and Exhibits 1-3 to Defendant’s Motion for Summary Judgment.

INTERROGATORY NO. 13: If You contend that Plaintiff’s primary duties included the
performance of work directly related to the management or general business operations of the
employer’s customers within the meaning of 29 CFR § 541.201(b), then Identify each such
primary duty and Identify all Documents that You contend memorialize specific instances in which
such duties were performed.

ANSWER:

       Tyler objects to this Interrogatory as overly broad in its request to identify each and
       every fact and/or document that might support Plaintiff’s exempt classification
       under the Fair Labor Standards Act (“FLSA”). Subject to but without waiving the
       foregoing objections, Tyler refers Plaintiff to Defendant’s Motion for Summary
       Judgment filed on February 10, 2022 and Exhibits 1-3 to Defendant’s Motion for
       Summary Judgment.


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Dated:     February 28, 2022                    /s/ Amanda E. Brown
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                                                ATTORNEYS FOR DEFENDANT




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 28, 2022, a true and correct copy of the
above was served on the following counsel of record via electronic mail and U.S. mail:

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                                                    /s/ Amanda E. Brown
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